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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DOROTHY PALMER,

                          Plaintiff,

        v.                                                           CIVIL ACTION
                                                                     No. 17-765

UNITED STATES DEPARTMENT OF
THE NAVY,

                          Defendant.


                                               ORDER

        AND NOW, this 29th day of August, 2017, upon consideration of Palmer’s

Motion to Remand, (ECF No. 6), the Navy’s Motion to Dismiss for Lack of Jurisdiction,

(ECF No. 11), Palmer’s Response, (ECF No. 12), and the Navy’s Reply, (ECF No. 15), it

is ORDERED that the Motion to Remand, (ECF No. 6), is DENIED and the Motion to

Dismiss, (ECF No. 11), is GRANTED consistent with the Court’s Opinion in Giovanni

v. U.S. Dep’t of the Navy, ___ F. Supp. 3d. ___, No. 16-4873, 2017 WL 2880749 (E.D. Pa.

July 6, 2017).1 This case shall be CLOSED for statistical purposes.



1       Palmer raises one argument not addressed by the Court in Giovanni: Relying on the Ninth
Circuit Court of Appeals’ decision in Fort Ord Toxics Project v. California EPA, 189 F.3d 828 (9th
Cir. 1999), Palmer argues that the cleanup activities here were initiated under 42 U.S.C. § 9620 and
are therefore not affected by § 9613(h)’s jurisdictional bar. See 42 U.S.C. § 9613(h) (“No Federal
court shall have jurisdiction under Federal law . . . or under State law . . . to review any challenges to
removal or remedial action selected under section 9604 of this title, or to review any order issued
under section 9606(a) of this title.”) The Court disagrees with this interpretation of the statute.
        Whenever “any hazardous substance is released or there is a substantial threat of such a
release into the environment,” § 9604 of the Comprehensive Environmental Response,
Compensation, and Liability Act (“CERCLA”) authorizes the President to “remove or arrange for the
removal of, and provide for remedial action” which he “deems necessary to protect the public health
or welfare or the environment.” 42 U.S.C. § 9604(a)(1). The President, through executive order, has
delegated some of this authority to various agencies, “where either the release is on or the sole
source of the release is from any facility . . . under jurisdiction, custody, or control of [that]
department[ ].” Exec. Order 12,580, § 2(d), 52 Fed. Reg. 2923, 2925 (Jan. 23, 1987). This executive
order makes clear that the authority delegated by the President is derived from § 9604. See, e.g., id.
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                                                                 BY THE COURT:


                                                                 /s/ Gerald J. Pappert
                                                                 GERALD J. PAPPERT, J.




(“[T]he functions vested in the President by Sections 104(a), (b) and (c)(4), and 121 of the Act are
delegated to the heads of the Executive departments and agencies.”). The President’s authority is
derived from § 9604, not § 9620. See 62 Fed. Reg. 50,796, 50,823 (Sept. 26, 1997) (“In E.O. 12580 . . .
the President . . . delegated his Section [9604] authority . . . to the Secretary of Defense . . . . The
President’s delegation to the Secretary of Defense is not conditioned on the NPL status of the release
in question.”).
         In fact, § 9620 does not authorize the President or an agency to do anything. It simply
provides additional guidance for cleanups on federal facilities. Section 9620’s text makes this clear.
It provides that “[e]ach department, agency, and instrumentality of the United States . . . shall be
subject to, and comply with, this chapter in the same manner and to the same extent, both
procedurally and substantively, as any other nongovernmental entity.” Id. § 9620(a)(1) (emphasis
added); see also id. § 9620(a)(2) (providing that “[a]ll guidelines, rules, regulations, and criteria
which are applicable to preliminary assessments carried out under this chapter for facilities at which
hazardous substances are located . . . shall also be applicable to [federal facilities]”); Pollack v. U.S.
Dep’t of Def., 507 F.3d 522, 525 (7th Cir. 2007) (remarking that § 9620 “merely supplements the
existing CERCLA regime by bringing federal property owners up to the same standards as private
owners; it does not create a separate system for the feds”); id. at 526 (“Critically, § [9620] does not
provide a separate grant of authority for the President to initiate cleanups of federal sites or force
private parties to do so. Hence a cleanup of a federally owned contaminate site must be initiated
under §§ [9604] or [9606], just like the cleanup of a privately owned site.”); Werlein v. United States,
746 F. Supp. 887, 891–92 (D. Minn. 1990), vacated on other grounds by Werlein v. United States, 793
F. Supp. 898 (D. Minn. 1992) (“If section 9604 did not apply to federal facilities, then there would be
no reason for the President to delegate response authority to the Secretary of Defense.”).
         No Circuit has followed Fort Ord’s § 9620 holding and two have distinguished it. See, e.g.,
OSI, Inc. v. United States, 525 F.3d 1294, 1299 (11th Cir. 2008); Pollack, 507 U.S. at 526. Fort Ord
itself concedes that its conclusion is “intuitively unappealing” and “troubling,” Fort Ord, 189 F.3d at
832.
